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               WHATSAPP INC. and FACEBOOK, INC.
          18
                                           UNITED STATES DISTRICT COURT
          19
                                        NORTHERN DISTRICT OF CALIFORNIA
          20
               WHATSAPP INC., a Delaware corporation,    Case No. 4:19-cv-07123-PJH
          21   and FACEBOOK, INC., a Delaware
               corporation,                              WHATSAPP’S ADMINISTRATIVE MOTION
          22
                                                         TO SEAL DOCUMENTS RELATED TO REPLY
                                         Plaintiff,
          23                                             BRIEF ISO MOTION TO DISQUALIFY
                              v.
          24                                             Date:        June 24, 2020
               NSO GROUP TECHNOLOGIES LIMITED            Time:        2:00 p.m.
          25   and Q CYBER TECHNOLOGIES LIMITED,         Courtroom:   3
                                                         Judge:       Hon. Phyllis J. Hamilton
          26                             Defendant.
          27

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                                                                WHATSAPP’S ADMINISTRATIVE MOTION TO SEAL
 SAN F                                                                        CASE NO. 4:19-CV-07123-PJH
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           1          Pursuant to Civil Local Rules 7-11 and 79-5(d) and (e), Plaintiff WhatsApp Inc. (“WhatsApp”)

           2   submits this administrative motion to file under seal limited portions of its Reply Brief in support of

           3   its Motion to Disqualify Defense Counsel and related documents. WhatsApp does not request sealing

           4   of the vast majority of the text of these documents. Instead, WhatsApp seeks sealing only of text that

           5   would disclose material that another court sealed in connection with an ongoing case, which that court

           6   ordered WhatsApp not to disclose, as well as material that discloses information covered by the

           7   attorney-client privilege and work product doctrines. Because the proposed redactions are both

           8   justified and “narrowly tailored to seek sealing only of sealable material,” Civil L.R. 79-5(b), the Court

           9   should grant WhatsApp’s Motion To Seal designated portions of: (1) WhatsApp’s Reply Brief in

          10   support of its Motion to Disqualify Defense Counsel Based on Prior Representation; (2) the

          11   Declaration of Daniel J. Grooms (June 5, 2020) in support of WhatsApp’s Motion to Seal its Reply

          12   Brief (the “Grooms Declaration” or the “Grooms Decl.”); and (3) the June 5, 2020, Proof of Service.

          13   I.     BACKGROUND
          14          WhatsApp’s Motion to Disqualify Defense Counsel contends that King & Spalding LLP,

          15   current counsel to Defendants in this case, should be disqualified because of its prior representation of

          16   WhatsApp in another matter (the “Prior Matter”). The Prior Matter—to which the Motion to

          17   Disqualify and accompanying documents refer—is both sealed and related to an ongoing case. See

          18   Grooms Decl. ¶¶ 2, 4. Accordingly, WhatsApp moved to file its Motion to Disqualify and related

          19   materials entirely under seal on April 10, 2020, see ECF No. 47, and it submitted more tailored

          20   redactions of information it sought to seal in those documents again on April 29, 2020, and May 1,

          21   2020, see ECF Nos. 59 & 63. On April 29, 2020, and May 1, 2020, the Government also submitted

          22   declarations pursuant to Rule 79-5(e) in support of the redactions proposed by WhatsApp and

          23   proposed additional redactions. See ECF Nos. 60 & 65. On May 6, 2020, the Court issued an order

          24   sealing the information identified by both WhatsApp and the Government in their April 29 and May

          25   1 filings. See ECF No. 67.

          26          On May 29, 2020, King & Spalding filed its Opposition to WhatsApp’s Motion to Disqualify

          27   (the “Opposition”) partially under seal. See ECF No. 79. The Opposition attaches and summarizes

          28   information subject to the attorney-client privilege. See id.
  COO
ATTO RN                                                         -1-        WHATSAPP’S ADMINISTRATIVE MOTION TO SEAL
 SAN F                                                                                   CASE NO. 4:19-CV-07123-PJH
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           1   WhatsApp believes should be sealed. See Civil L.R. 79-5(d)(1)(C)–(D). WhatsApp has conferred

           2   with the Government regarding these redactions of information relating to the prior matter, and the

           3   Government has indicated it agrees with the redactions proposed by WhatsApp.

           4          Attorney Client Privilege and Work Product: Multiple courts have found both good cause

           5   and compelling reasons to seal information that is covered by the attorney-client privilege or the work

           6   product doctrine. See, e.g., In re Hewlett-Packard Co. S’holder Derivative Litig., 716 F. App’x 603,

           7   609 (9th Cir. 2017) (affirming sealing decision where documents included “material protected by the

           8   attorney-client privilege and the work product doctrine”); Qualcomm Inc., 2018 WL 2317835, at *6

           9   (collecting cases); see also Local Rule 79-5(b).

          10          As detailed in the Grooms Declaration, the relevant redactions requested by WhatsApp are

          11   “narrowly tailored” to encompass privileged information or work product from King & Spalding’s

          12   prior representation of WhatsApp. Civil L.R. 79-5(b). WhatsApp seeks to redact only references to

          13   information that is covered by the attorney-client privilege or the work product doctrine. See Grooms

          14   Decl. ¶ 8. Accordingly, WhatsApp’s request accords with the presumptive common law right of

          15   access to judicial materials. See Nixon, 435 U.S. at 597-98. WhatsApp has submitted redacted

          16   versions of the documents that it seeks to file under seal, as well as unredacted documents that indicate

          17   by highlighting the portions of the documents that WhatsApp believes should be sealed. See Civil

          18   L.R. 79-5(d)(1)(C)–(D).

          19                                                      CONCLUSION
          20          For the reasons set forth above and in the Grooms Declaration, WhatsApp respectfully requests

          21   that the Court grant this Administrative Motion and seal the designated material in WhatsApp’s Reply

          22   Brief in support of its Motion to Disqualify and the supporting documents.

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           1   Dated: June 5, 2020                 Respectfully submitted,

           2                                       /s/ Michael G. Rhodes
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           3
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           4                                       Daniel J. Grooms
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                                                   Attorneys for Plaintiffs
           9                                       WHATSAPP INC. and FACEBOOK, INC
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 SAN F                                                                       CASE NO. 4:19-CV-07123-PJH
